                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT


In the matter of:

       Telese Georgia Hussey,                              Case No. 12-57929-MBM
                                                           Chapter 7
                           Debtor.   /                     Hon. Marci B. McIvor


                     ORDER REGARDING DATE PROPERTY IS TO
                    BE VALUED FOR PURPOSES OF 11 U.S.C. § 554

       For the reasons set forth in the Opinion issued in conjunction with this Order,

       IT IS HEREBY ORDERED that for the purposes of 11 U.S.C. § 554, the value of

Debtor’s real property should be determined as of the date Debtor filed her Motion to

Abandon Property of the Estate.
                                                .



Signed on April 05, 2013




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